                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                           NO.: 5:17-CV-534-H


EPIC GAMES, INC.                     )
                                     )
        Plaintiff,                   )
                                     )
                                     )
        v.                           )
                                     )                 ORDER
                                     )
C.R.,                                )
                                     )
    Defendant.                       )
                                     )



     This matter is before the court on plaintiff’s motion for

default judgment [DE #25] in this matter.

                                   BACKGROUND

         Plaintiff filed a complaint in this matter on October 23,

2017.    On October 27, 2017, the clerk’s office issued a summons to

defendant C.R.       It appears that at the time of filing of the

complaint and issuance of the summons, plaintiff was unaware

defendant C.R. was a minor.          On November 15, 2017, the court

received a letter from Lauren A. Rogers, purportedly C.R.’s mother,

in which she asked the court to dismiss the complaint against C.R.

This letter was received prior to service of the summons and

complaint upon Ms. Rogers.




         Case 5:17-cv-00534-H Document 29 Filed 08/13/19 Page 1 of 4
     Upon realizing defendant C.R. was a minor, plaintiff sought

an amended summons to effect proper service.         As detailed in its

motion for entry of default and declaration of service, plaintiff

effectuated proper service.      Plaintiff then asked the court to

enter default for failure of defendant to answer or otherwise

respond.   This court found that while it is true that defendant

had not responded since proper service was effectuated, the letter

from defendant’s mother [DE #6] detailing why this matter should

be dismissed could not be ignored.     Therefore, the court construed

the letter [DE #6] as a motion to dismiss and denied without

prejudice defendant’s motion for entry of default.             The court

subsequently denied the letter it construed as a motion to dismiss.

The court notes no further filings or letters have been received

from defendant or his guardian.

     On August 19, 2018, plaintiff filed a motion for entry of

default.   Default was entered by the clerk on September 11, 2018.

     Subsequently, plaintiff filed the motion for default judgment

which is now before the court.     In reviewing this matter, it came

to the court’s attention that the order of default [DE #24]

incorrectly   identifies   defendant’s    mother   as   Christine    Broom

instead of Lauren Rogers.    Therefore, the court finds default has

not been properly entered.      Therefore, the court hereby STRIKES

the order of default previously entered and directs the clerk to


                                   2

       Case 5:17-cv-00534-H Document 29 Filed 08/13/19 Page 2 of 4
enter default against defendant and list Lauren Rogers as his

mother in the order of default. The clerk is further directed to

serve the new entry of default on defendant c/o Lauren Rogers at

the following addresses:       C.R. c/o of Lauren Rogers, 5 Vireo

Circle, Newark, DE 19711 and C.R. c/o Lauren Rogers, 501 West Ave.,

New Castle, DE 19720.

     Turning to the issue of default judgment, the court notes “a

default judgment may be entered against a minor or incompetent

person only if represented by a general guardian, conservator, or

other like fiduciary who has appeared.” Fed. R. Civ. P. 55(b)(2).

While plaintiff asserts that defendant appeared through his mother

in the letter that this court deemed a motion to dismiss, the

court, in a footnote to the order denying the motion to dismiss

[DE #22] specifically acknowledged “that although it has construed

the letter, in an abundance of caution, as a motion to dismiss,

there has been no official appearance by anyone on behalf of the

minor defendant.” Furthermore, there has been no additional filing

or appearance by anyone on behalf of defendant.

     In light of the circumstances herein, based on the facts

currently before the court, and pursuant to Rule 55 of the Federal

Rules of Civil Procedure, the court must deny plaintiff’s motion

for default judgment.




                                   3

       Case 5:17-cv-00534-H Document 29 Filed 08/13/19 Page 3 of 4
                                    CONCLUSION

     For the foregoing reasons, the court hereby STRIKES the order

of default previously entered and directs the clerk to re-enter

default    as   detailed   above.     The   motion   for   default   judgment

[DE #25] is hereby DENIED.

     This 13th day of August 2019.



                              __________________________________
                              Malcolm J. Howard
                              Senior United States District Judge

At Greenville, NC
#26




                                      4

          Case 5:17-cv-00534-H Document 29 Filed 08/13/19 Page 4 of 4
